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               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                       )
                                          )
PRESIDENT, INC., et al.,                  ) 2:20-cv-966-NR
                                          )
             Plaintiffs,                  )
                                          )
       v.                                 )
                                          )
KATHY BOOCKVAR, et al.,                   )
                                          )
             Defendants.                  )

                                       ORDER
      The Court is cognizant of the exigency of this case, but is also mindful that ex
parte motions (even ones that are largely procedural) are disfavored. Balancing
these considerations, the Court hereby ORDERS: (i) on or before July 6, 2020,
Plaintiffs’ counsel shall serve by overnight mail (and e-mail or facsimile, if possible)
the complaint [ECF 4], the motion to expedite [ECF 6], and a copy of this order on
Defendants or the attorneys that Plaintiffs reasonably believe to be counsel for
Defendants in this matter; (ii) upon mailing of those documents, Plaintiffs’ counsel
shall file a certification, certifying that the complaint, motion, and order were
mailed or otherwise delivered to Defendants or their counsel, and describing those
efforts; and (iii) Defendants shall have until July 13, 2020 to file any responses to
the motion to expedite (responses not to exceed 10 pages). Nothing in this order
shall be construed to excuse the requirement that Plaintiffs serve original process
pursuant to the procedures outlined in Federal Rule of Civil Procedure 4.


Dated: July 2, 2020                   BY THE COURT:

                                      /s/ J. Nicholas Ranjan
                                      United States District Judge
